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 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 8
 9      UNITED STATES OF AMERICA,

10                                    Plaintiff,                    Case No. CR04-80L

11                           v.
                                                                    Minute Order
12                                                                  Re: Settlement Conference
        TAE HYU SHIN and KONG SUN
13      HERNANDEZ,

14                                    Defendants.

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17              THIS MATTER was referred by the Honorable Robert S. Lasnik for purposes of a settlement
18 conference. The parties and counsel met with the court this date. It was mutually agreed to resume on June
19 7, 2005 at 12:00 p.m. to 3:00 p.m.
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                Entered at the direction of U.S. Magistrate Judge, J. Kelley Arnold by Deputy Clerk, /s/Kelly Miller.
23
                May 25, 2005.
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     ORDER
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